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               EXHIBIT A
      Case 1:19-cv-04255-MLB Document 1-1 Filed 09/20/19 Page 2 of 16t-ruzu IN urrit.e. -
•                                                                              CLERK OF STAVE. COUR1
                                                                          GININNETT COUNTY, GEORGIA
                                                                                  19-C-04239-S3
                                                                               8/14/2019 8:22 PM

            IN THE STATE COURT OF GWINNETT COUNTY
                       STATE OF GEORGIA
                                                                          ig4441,1441
SHERRY MORELAND                 )
                                )
          Plaintiff             )
                                ) CASE FILE NO: 1944423943
vs                              )
                                )
COMCAST CABLE COMMUNICATIONS, )
LLC, and STELLAR RECOVERY, INC. )
                                )
          Defendant             )


                        COMPLAINT FOR DAMAGES

      COMES NOW, Sherry A. Moreland, Plaintiff in the above styled action and

states her complaint against the Defendants, Comcast Cable Communications,

LLC., and Sterling Recovery, LLC., as follows:

                                         1.

      Plaintiff brings her complaint for violations of Georgia Fair Business

Practices Act and the Fair Credit Reporting Act.

                                         2.

      Defendant Comcast Cable Communications, LLC. (Hereinafter "Comcast")

is a foreign limited liability company authorized to do and doing business in the

State of Georgia. The Defendant is subject to the jurisdiction of this Honorable

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      Case 1:19-cv-04255-MLB Document 1-1 Filed 09/20/19 Page 3 of 16




Court. Service may be perfected upon the Defendant through its registered agent

for service, that being CT Corporate System, 289 S. Culver St, Lawrenceville, Ga

30046-4805.

                                         3.

      Defendant Stellar Recovery, Inc., is a foreign corporation with a principal

office address at 4500 Salisbury Road, Suite 105, Jacksonville, FL. 32216.

                                         4.

      Stellar Recovery, Inc. (Hereinafter "Stellar") is actively doing business in

Georgia illegally since the corporation is not registered with the Secretary of State

and does not maintain a registered agent within the State of Georgia. Service may

be perfected through the Georgia secretary of State.

                                          5.

      Defendant Comcast is a "user" of credit information and "furnisher" of

credit information as described in the Fair Credit Reporting Act, codified at 15

U.S.C. § 1681.

                                         6.

      Defendant Stellar is a "debt collector" as described 15 U.S.C.§ 1692-1694.

                                         7.

      Defendant Comcast also provides cable television, interne% and phone

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services to consumerS in Georgia.

                                          8.

        Plaintiff and Defendant Comcast entered into a services contract for cable

and other services that, upon information and balk that ended in or around June,

2014.

                                          9.

        Plaintiff closed her residential cable account with Defendant Comcast by

tendering a final payment of $96.14 in cash at a Comcast retail store in Dothan,

Alabama in July, 2014.

                                         10.

        Plaintiff did not receive further communication or correspondence from

Defendant, Comcast until approximately two months later when Plaintiff received

a call from Credit Protection Association, L.P., ("CPA"), a collection agency

acting as agent for Defendant, Comcast. CPA sought the same $96.14 debt that

Plaintiff had tendered to Defendant, Comcast in July, 2014.

                                         11.

        When Plaintiff explained to CPA that she paid her Comcast bill in July,

2014 and their records were inaccurate, CPA instructed Plaintiff to contact

Defendant, Comcast.

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                                          12.

        Despite having paid the bill in full July, 2014, Plaintiff tendered a second

payment of $96.14 to Defendant, Comcast via debit card on September 25,2014.

                                          13,

        In November, 2015, Defendant, Stellar contact Plaintiff regarding an

alleged $96,14 balance, purportedly owed to Defendant, Comcast

                                          14.

        Plaintiff immediately disputed the validity of said debt with Stellar, and

confirmed with CPA and Comcast, whose internal records both reflected that he

account was paid in full.

                                        • 15.

        Up to this point, Plaintiff regularly maintained a high credit score of more

than 700 points and prided herself on her creditworthiness.

                                          16.

        Defendant, Comcast and/or Defendant, Stellar reported this inaccurate

information regarding a $96.14 debt to consumer reporting agencies in December,

2015.



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                                           17.

        Defendants' negative credit entries directly caused Plaintiff's credit score to

drop roughly 60 points.

                                           18.

        Plaintiff and her husband were preparing ta purchase their first home in Fall

2015. Due to the sharp decline in Plaintiff's credit score, her lender withdrew

funding for her mortgage. This caused Plaintiff to loose her dream home and incur

substantial time and expense identifying, qualifying, and purchasing another •

home.

                                           19.

        Defendant was notified of the inaccuracies by Plaintiff, however,

Defendants continued to issue and/or publish report(s) to third parties which

contained inaccurate information about Plaintiff.

                                          20.

        Defendants' publishing of such false and inaccurate information has

severely damaged the personal and consumer reputation of Plaintiff and caused

severe humiliation, emotional distress, and mental anguish to Plaintiff.

                                          21.

        Defendants were aware that their recordings and activities were false and

                                      Page 5 of 10
      Case 1:19-cv-04255-MLB Document 1-1 Filed 09/20/19 Page 7 of 16




would damaged Plaintiff's ability to enjoy life and utilize the credit rating and

reputation property rights she secured by honoring

     COUNT L VIOLATION OF THE PAIR BUS1NF.SS PRACTICES ACT

                                         22.

      Plaintiff hereby incorporates into Count I the numbered paragraphs 1

though 21.

                                         23.

      Defendant Comcast violated the Fair Business Practices Act, 0.C.G.A. §

10-1-393(a), when Defendants: (a) referred Plaintiff's account to a second

collection firm despite having received payment (b) falsely reported to consumer

reporting agencies that Plaintiff owed a debt to Defendant, Comcast and violated

the Fair Credit Reporting Act

                                         24.

      Defendant Stellar violated the FBPA by violating the provisions of the Fair

Debt Collection Practices Act, which prevents: (1) debt collection efforts in the

form of incessant, harassing telephone calls; and (2) attempting to collect on a

debt that is not owed.

                                         25.

The Fair Business Practices Act ("FBPA") protects consumers from unfair and

                                     Page 6 of 10
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deceptive practices in the conduct of trade or commerce in the State of Georgia.

O.C.G.A.§10-1-390 et seq. A person who suffers injury as a result of a violation

of the FBPA is entitled to an award of damages as well as attorney's fees and

expenses of litigation. In the case of an intentional violation of the FBPA, an

injured person also is entitled to three times actual damages as well as exemplary

damages. O.C.G.A.§ 10-1-399.

                                         26.

      Defendants are liable to Plaintiffs pursuant to 0.C.G.A.§ 10-1 -399 for treble

actual damages and punitive damages in an amount to be determined at trial, court

costs, litigation expenses and reasonable attorney's fees to Plaintiff.

  COUNT IL VIOLATION OF FAIR DEBT COLLECTION PRACTICES-ACT

                                         27.

      Plaintiff incorporates into Count II the numbered paragraphs 1-21.

                                         28.

      Defendants were immediately notified on multiple occasions that the debt

was disputed, continued to make collection attempts.

                                         29.

      Defendants' continued attempts to collect a debt not owed and disputed

were violations of the Fair Debt Collection Practices Act 15 USC § 1692, at seq.

                                     Pap 7 of 10
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                                           30.

      As a direct and proximate result of the actions of the Defendants the

Plaintiff has suffered damages.

                                           31.

      In addition to the actual damages suffered, Plaintiff is entitled to recover

statutory damages and attorney fees.

                            COUNT1ILNEOLX1INCR

                                           32.

      Plaintiff incorporates into Count II the numbered paragraphs 1-21.

                                           33.

      Defendants Comcast and Stellar owed duties of reasonable care to Plaintiff.

                                           34.

      Defendants failed to exercise reasonable care and prudence in the
accounting of the Plaintiff's account by: (1) failing to present Plaintiff with a fmal

invoice; (2) reporting and attempting collection of the amounts already paid W

Defendant Comcast, each subsequent reporting and re-reporting, the handling and

reinvestigation of data about Plaintiff.

                                           35.

      As a direct and proximate result of the negligence of the Defendants,

                                     Page 8 of 10
     Case 1:19-cv-04255-MLB Document 1-1 Filed 09/20/19 Page 10 of 16




Plaintiff has suffeffld dosses.
                           COUNT IV, DEFAMATION

                                          36.

      Plaintiff incorporates into Count III the numbered paragraphs 1-21.

                                          37.

      Defendants recklessly, maliciously, and/or intentionally, published and
disseminated false and inaccurate information concerning Plaintiff with reckless

disregard for the truth of the matters asserted.

                                        . 38.

      Defendants' publishing of such false and inaccurate information has

severely damaged the personal and consumer reputation of Plaintiff and caused

severe humiliation, emotional distress and mental anguish to Plaintiff

                                         39.

      Defendants were notified of inaccuracies and problems by Plabniff,

however, Defendants continued to issue and/or publish report(s) to third parties

which contained inaccurate information about Plaintiff.

                                         40.

      Defendants acted with willful intent and malice to harm Plaintiff.
WHEREFORE, PLAINTIFF PRAYS

                                     Page 9 of 10
     Case 1:19-cv-04255-MLB Document 1-1 Filed 09/20/19 Page 11 of 16




A.   That here be Judgment in favor of Plaintiff;

B.   That Defendants be held jointly and severally liable;

C.   For damages in such amount as the Jury may determine, but not less than

     One Hundred Thousand ($ 100,000.00) Dollars;

D.   For punitive damages allowed by law;

E.   That Defendants be ordered to instanta publish corrections to clear

     Plaintiff's credit records.

F.   For reasonable attorney fees and expenses of litigation.
G.   For such additional, general, and equitable relief as may be necessary and

     proper.

     This the 14th day of June, 2019.

                                      Respectfully submitted,

                                     is/Clrfard H. ifordwick
                                      Clifford H. Hardwick
                                      Attorney for Plaintiff
                                      Georgia Bar No. 325675
11205 Alpharetta Highway
Suite E-1
Roswell, Georgia 30076-1442
Tel: (770) 772-4700
chh@liellaouth.net




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                EXHIBIT B
                 Case 1:19-cv-04255-MLB Document 1-1 Filed 09/20/19 Page 13 of 16
                                                                                                             E-FILED IN OFFICE - NN
                                                                                                            CLERK OF STAVE COURT
                                                                                                        GWINNETT COUNTY, GEORGIA
                              IN THE STATE COURT OF GWINNETT COUNTY                                               19-C-04239-S3
                                                                                                               6114/2019 8:22 PM



SHERRY MORELAND
                                                 STATE OF GEORGIA
                                                                                                         kriairiet&
                                                                                    CIVIL ACTION 1944423943
                                                                                    NUMBER;

                                   PLAINTIFF


                      Vs.
COMCAST CABLE
•COMMUNICATIONS LLC and
 STELLAR RECOVERY, INC.
                                   DEFENDANT



                                                        SUMMONS
                                        Comcast Cable Communications LLC . , via its
TO THE ABOVE NAMED DEFFAIDANT: registered agent, CT Corporation System, 289 Culver
                                         Street, Lawrenceville, GA 3 0 046
  You are hereby summoned and required to file with the Clerk of said court and serve upon the Plaintiff's attorney, whose name
and address ha
               CLIFFORD H. HARDWICK
               11205 ALPHARETTA HIGHWAY, SUITE E-1 •
                ROSWELL. GA. 30076

an answer to the complaint which is herewith served upon you, vd1hIn 30 days after service of this summons upon you, exclusive of
the day of service. If you fail to do so, judgment by default wrn be taken against you for the relief demanded In the complaint.
This     14TH             day of             JUNE                                  19
                                                                              20        .


                                                                           Richard T. Alexander, Jr.,
                                                                           Clerk of State Court



                                                                            Y !yak&
                                                                                 Deputy Clerk

INSTRUCTIONS: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet le used.
SC-1 Rev. 2011
Case 1:19-cv-04255-MLB Document 1-1 Filed 09/20/19 Page 14 of 16




                EXHIBIT C
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Case Information

19-C-04239-S3 | MORELAND VS COMCAST CABLE COMMUNICATIONS LLC

Case Number                           Court                               Judicial Oﬃcer
19-C-04239-S3                         Division 3                          Brown, Carla
File Date                             Case Type                           Case Status
06/14/2019                            Other General Civil*                Pending




Party

Plaintiﬀ                                                                  Active Attorneys !
MORELAND, SHERRY                                                          Lead Attorney
                                                                          HARDWICK, CLIFFORD H
Address
                                                                          Retained
11205 Alpharetta Highway, Suite E-1
Roswell GA 30076




Defendant
COMCAST CABLE COMMUNICATIONS LLC

Address
c/o 289 Culver Street
Lawrenceville, GA 30046




Events and Hearings


  06/14/2019 Summons !


     Comment
     Summons to Comcast Cable Communications, Inc.


  06/14/2019 Summons !
  Comment
                 Case
  Summons to Stellar   1:19-cv-04255-MLB
                     Recovery, Inc.      Document 1-1 Filed 09/20/19 Page 16 of 16


06/14/2019 General Civil/ Domestic Relations Case Filing Info !


  Comment
  Filing Information Form


06/14/2019 Complaint/Petition !


  Comment
  Complaint for Damages


08/20/2019 Summons !


Anticipated Server
Gwinnett County Sheriﬀ's Oﬃce

Anticipated Method
Sheriﬀ
Serving Oﬃcer
Calabrese, Nicholas

Serving Method
Corporation


08/22/2019 Sheriﬀs Entry of Service


09/09/2019 Dismissal without Predjudice !


  Comment
  Plaintiﬀ's Dismissal Without Prejudice to Stellar Recovery, Inc.


09/23/2019 No Service Calendar !


Judicial Oﬃcer
Brown, Carla

Hearing Time
9:30 AM
